   Case 4:11-cr-00165 Document 556 Filed on 08/08/16 in TXSD Page 1 of 1
                                                                       United States District Court
                                                                         Southern District of Texas

                                                                             ENTERED
                                                                            August 08, 2016
                                                                         David J. Bradley, Clerk
                    IN TH E U N ITED STA TES D ISTRIC T C O U R T
                    FO R TH E SO U TH ER N D ISTR ICT O F TEX AS
                                 H O U STO N D IVISIO N

UN ITED STA TES OF AM ER ICA ,

             Plaintiff-Respondent,


V S.                                         CRIM INA L A CTION N O .11-11-165-5
                                             CIVIL A CTION N O .11-15-1481


N ATH AN IEL GO RD ON ,111,

             D efendant-M ovant.

                               O R DER O F DISM ISSA L

       Thegovemment'smotiontodismissGordon'sj2255motionisgranted.Gordon'smotion
to vacate,setaside,orcorrectsentence under28 U.S.C.j2255 isdenied and dismissed with
prejudice.A certitkateofappealabilityisdenied.CivilAdionNo,15-1481isdismissed.
             SIGN ED on A ugust8,2016,atH ouston,Texas.

                                                      .    +*   '
                                                   Lee H .R osenthal
                                              United StatesD istrictJudge
